     Case: 1:25-cv-00633 Document #: 10 Filed: 01/28/25 Page 1 of 1 PageID #:213

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                  Eastern Division

Felix Rodriguez
                                 Plaintiff,
v.                                                   Case No.: 1:25−cv−00633
                                                     Honorable Charles P. Kocoras
Cresco Labs, Inc., et al.
                                 Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 28, 2025:


       MINUTE entry before the Honorable Charles P. Kocoras: Defendants filed an
amended motion to dismiss [7]. Defendant's motion to dismiss [6] is denied as moot.
Defendants motion to dismiss [7] is entered and briefed as follows: response is due by
2/17/2025; reply is due by 3/3/2025. Court will rule by mail. Mailed notice (ags)




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